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                     UNITED STATES BANKRUPTCY COURT
                      NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION

IN RE:                                   :      CHAPTER 11
                                         :
VIRO DEVELOPMENT,                        :      CASE NO. 24-58169-LRC
                                         :
       DEBTOR.                           :
                                         :
             DEBTOR.                     :
                                         :
MARY IDA TOWNSON,                        :
UNITED STATES TRUSTEE,                   :
                                         :
             MOVANT,                     :
vs.                                      :      CONTESTED MATTER
                                         :
VIRO DEVELOPMENT,                        :
                                         :
             RESPONDENT.                 :

      NOTICE OF HEARING ON UNITED STATES TRUSTEE’S MOTION TO
                           DISMISS CASE

      PLEASE TAKE NOTICE that the United States Trustee has filed a Motion to
Dismiss Case and related papers with the Court, seeking an order dismissing the case.

       PLEASE TAKE FURTHER NOTICE that the Court will hold a hearing on the
United States Trustee’s Motion to Dismiss Case at 10:15 A.M. on September 12, 2024 in
Courtroom 1204, U.S. Courthouse, 75 Ted Turner Drive, S.W., Atlanta, Georgia 30303,
which may be attended in person or via the Court’s Virtual Hearing Room. You may join
the Virtual hearing Room through the “Dial-In and Virtual Bankruptcy Hearing
Information” link at the top of the homepage of the Court’s website,
www.ganb.uscourts.gov., or the link on the judge’s webpage for further information about
the hearing. You should be prepared to appear at the hearing via video, but you may leave
your camera in the off position until the Court instructs otherwise. Unrepresented persons
who do not have video capability may use the telephone dial-in information on the judge’s
webpage.
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         Your rights may be affected by the court’s ruling on this motion. You should read
this motion carefully and discuss it with your attorney if you have one in this bankruptcy
case. (If you do not have an attorney, you may wish to consult one.) If you do not want the
court to grant the relief sought in this motion or if you want the court to consider your
views, then you and/or your attorney must attend the hearing. You may also file a written
response to the motion with the Clerk at the address stated below, but you are not required
to do so. If you file a written response, you must attach a certificate stating when, how and
on whom (including addresses) you served the response. Mail or deliver your response to
that it is received by the Clerk at least two business days before the hearing. The address
of the Clerk’s Office is: Clerk, U.S. Bankruptcy Court, Suite 1340, 75 Ted Turner Drive,
S.W., Atlanta, Georgia 30303. You must also mail a copy of your response to the
undersigned at the address stated below.

       Dated: August 7, 2024
                                                  MARY IDA TOWNSON
                                                  UNITED STATES TRUSTEE
                                                  REGION 21

                                                    /s Jonathan S. Adams
                                                  Jonathan S. Adams
                                                  Georgia Bar No. 979073
                                                  Trial Attorney
Office of the United States Trustee
362 Richard B. Russell Building
75 Ted Turner Drive, SW
Atlanta, GA 30303
404.331.4438
Jonathan.S.Adams@usdoj.gov
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                     UNITED STATES BANKRUPTCY COURT
                      NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION


IN RE:                                    :        CHAPTER 11
                                          :
VIRO DEVELOPMENT,                         :        CASE NO. 24-58169-LRC
                                          :
       DEBTOR.                            :
                                          :
              DEBTOR.                     :
                                          :
MARY IDA TOWNSON,                         :
UNITED STATES TRUSTEE,                    :
                                          :
              MOVANT,                     :
vs.                                       :        CONTESTED MATTER
                                          :
VIRO DEVELOPMENT,                         :
                                          :
              RESPONDENT.                 :

                             MOTION TO DISMISS CASE

       COMES NOW Mary Ida Townson, United States Trustee for Region 21, in

furtherance of the administrative responsibilities imposed by 28 U.S.C. § 586(a), and

respectfully moves this Court to enter an order dismissing the above-captioned Chapter 11

case for cause pursuant to 11 U.S.C. § 1112(b). In support of this motion, the United States

Trustee shows the Court as follows:


                                              1.

       The Court has jurisdiction over this matter under 28 U.S.C. § 1334(a) and (b), and

28 U.S.C. § 157(a) and (b)(1). This is a core proceeding under 28 U.S.C. § 157(b)(2)(A).
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                                               2.
       On August 6, 2024, Viro Development (the “Debtor”) commenced this case by

filing a voluntary petition for relief under Chapter 11 of the Bankruptcy Code (the

“Petition”). On its Petition, Debtor indicated it is a small business debtor as defined in 11

U.S.C. § 101(51D).

                                               3.

       The Petition was signed by “Royce Jones” as the “President” of the Debtor. No

attorney signed the petition as representative of the Debtor.

                                               4.

       Debtor disclosed just one creditor on its list of creditor filed with the Petition:

Center Street Lending.

                                               5.

       Debtor has yet to pay the filing fee in this case. And although the time for doing so

has not yet passed at time of writing, Debtor has yet to file Schedules, a Statement of

Financial Affairs, a Corporate Resolution, or any of the financial documents required of

small business debtors-in-possession under 11 U.S.C. § 1116 (1).

                                               6.

       On the Petition, the Debtor indicates that it is a corporation; as a result, it appears

on the face of the Petition that Debtor is an artificial entity and that it is not represented by

an attorney.
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                                                7.

       The Court should dismiss this case, for cause, pursuant to 11 U.S.C. § 1112(b).

Because Debtor is an artificial entity, it cannot represent itself in this proceeding, nor may

its officers appear before this court on its behalf unless they are licensed attorneys. See

Palazzo v. Gulf Oil Corp., 764 F.2d 1381, 1385 (11th Cir. 1985); National Indep. Theatre

Exhibitors, Inc. v. Buena Vista Distrib. Co., 748 F.2d 602, 609 (11th Cir. 1984), cert

denied, 474 U.S. 1056 (1985).

                                                8.

       Bankruptcy Code section 1112 provides a non-exhaustive list of grounds for

dismissal of a chapter 11 case. Debtor’s inability to prosecute this case is cause for

dismissal under 11 U.S.C. § 1112(b). See, e.g.¸ In re 167 W. 133rd St. Hous. Dev. Fund

Corp., No. 18-12043, 2018 Bankr. LEXIS 2909, at *12 n.9 (Bankr. S.D.N.Y. Sep. 25,

2018) (“The failure of a corporate debtor . . . to retain counsel, is grounds under §

1112(b)(2) to dismiss or convert its case.”).



       WHEREFORE, the United States Trustee respectfully moves this Court to enter an

order dismissing this case, directing payment of any unpaid chapter 11 filing fees and

special charges, and granting such other relief as the Court deems just and proper.

Dated: August 7, 2024.
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                                           MARY IDA TOWNSON
                                           UNITED STATES TRUSTEE
                                           REGION 21

                                             /s Jonathan S. Adams
                                           Jonathan S. Adams
                                           Georgia Bar No. 979073
                                           Trial Attorney
                                           Office of the United States Trustee
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                             CERTIFICATE OF SERVICE

       This is to certify that I have on this day electronically filed the foregoing Motion to
Dismiss Case and Notice of Hearing on United States Trustee’s Motion to Dismiss Case
using the Bankruptcy Court’s Electronic Case Filing program, which sends a notice of this
document and an accompanying link to this document to the following party who has
appeared in this case under the Bankruptcy Court’s Electronic Case Filing program:

   •   NONE

       I further certify that on this day, I caused a copy of this document to be served via
United States First Class Mail, with adequate postage prepaid on the following parties at
the address shown for each.

Viro Development                                         Internal Revenue Service
705 Timbergrove Drive                                    P.O. Box 7346
Atlanta, Georgia 30331                                   Philadelphia, Pennsylvania 19101

Secretary of the Treasury                                U.S. Securities & Exchange
15th & Pennsylvania Avenue, N.W.                         Commission
Washington, D.C. 20200                                   Office of Reorganization
                                                         Suite 900
Center Street Lending                                    950 East Paces Ferry Road, N.E.
7446 Covington Highway                                   Atlanta, Georgia 30326
Lithonia, Georgia 30058

Dated: August 7, 2024.
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                                           MARY IDA TOWNSON
                                           United States Trustee, Region 21

                                            s/ Jonathan S. Adams
                                           Jonathan S. Adams
                                           Georgia Bar No. 979073
                                           United States Department of Justice
                                           Office of the United States Trustee
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